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In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-00870-CR

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EZEQUIEL
RAMIREZ, Appellant

V.

THE STATE OF TEXAS, Appellee



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On Appeal from the 230th District Court 

Harris County, Texas



Trial Court Cause No. 1259303

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MEMORANDUM OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P.
42.2(a).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Justices Keyes, Higley and Bland.

Do not publish.&nbsp;
&nbsp;Tex. R. App. P. 47.2(b).

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